Case 2:04-cr-20460-STA Document 10 Filed 05/23/05 Page 1 of 2 Page|D 15
IN THE UNITED STATES DISTRICT COURT

   

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WESTERN DIVISION
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V. Cr. No. 04-20460-B
CHRISTOPHER WALDEN

ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL AC'I`

Counsel for the defendant has this day notified the Court that the defendant is being held on
other charges and thus has been unable to be released on bond in the instant case. Pursuant to the
Speedy Trial Act, as set out in 18 U.S.C. § 3161(1'1)(3)(A), a period of excludable delay may be
granted due to the unavailability of the defendantl

IT lS THEREFORE ORDERED that the time period of 05/18/05 through 06/25/05 be
excluded from the time limits imposed by the Speedy Trial Act for trial of this case, while the
defendant is unavailable to appear for arraignment in this case.

ARRAIGNMEN'I` IS RESET TO WEDNESDAY, June 15, 2005 at 9:30 a.m. BEFORE

MAGISTRATE JUDGE TU PHAM.

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UNITED STATES MAGISTRATE IUDGE

DATE; Zi_/\dq 20 gay

'Ihis document entered on the docket sheet in compliance

with Rule 55 and/or 32(b) FRCrP on

 

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This notice confirms a copy of the document docketed as number 10 in
case 2:04-CR-20460 Was distributed by faX, mail, or direct printing on
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ENNESSEE

 

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Honorable J. Breen
US DISTRICT COURT

